                       Case 4:07-cr-00335-SWW Document 58-2 Filed 12/09/09 Page 1 of 6
AD 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT                                                 DEC -92009
                                                          Eastern District of Arkansas          JAM
                                                                                                By:
             UNITED STATES OF AMERICA
                                                                        )
                                                                              JUDGMENT IN A C=RI~M==I~N~A~L~~\../J'::-J-~
                                                                        )
                                  v.                                    )
                                                                        )
                   OCTAVIO LOZOYA, JR.                                        Case Number:      4:07CR00335-002 SWW
                                                                        )
                                                                        )     USMNumber:        08099-180
                                                                        )
                                                                        )     Dale West (appointed)
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the superseding information

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18 U.S.c. § 7                    Voluntary Manslaughter, a Class C Felony                                    06/19/2007                   1




       The defendant is sentenced as provided in pages 2 through           _---=-6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                         o is            o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in econOInlC circumstances.

                                                                          December 4, 2009
                                                                          Date of Imposition of Judgment


                                                                         ~       )A~Y11~'F--C----
                                                                         ~re<fiJU$~~ I--fI'1

                                                                          Susan Webber Wright, U. S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
------------------------


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  AO 245B     (Rev. 09/08) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                          Judgment - Page _-=2_ of   6
  DEFENDANT:                     OCTAVIO LOZOYA, JR.
  CASE NUMBER:                   4:07CR00335-002 SWW


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of:

  ONE-HUNDRED AND EIGHTY (180) MONTHS to run consecutively to the undischarged term of imprisonment in docket
  numbers P-00-CR00283-01 and EP-02-CR-1853(01).


      X The court makes the following recommendations to the Bureau of Prisons:
        IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant
            participate in residential substance abuse treatment; mental health counseling; and educational and vocational programs
            during incarceration.


      X The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
            D   at                                     D a.m.      D p.m.       on

            D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on                                               . DEFENDANT ELIGIBLE TO SELF-REPORT.

            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                      RET~                          _
  I have executed this judgment as follows:




            Defendant delivered on                                                           to

  a                                                     , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL



                                                                              By ---------=c====-----=-===-==-=-:::-:-:~_==-:-::------
                                                                                                    DEPUTY UNITED STATES MARSHAL
                          Case 4:07-cr-00335-SWW Document 58-2 Filed 12/09/09 Page 3 of 6

AD 2458       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _=3_ of               6
DEFENDANT:                      OCTAVIO LOZOYA, JR.
CASE NUMBER:                    4:07CR00335-002 SWW
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
THREE (3) YEARS.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, ifapplicable.)

x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 o       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probatIOn officer, the13ureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;                                                ----
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purChase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any l'ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or £ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
AO 2458
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           (Rev. 09/08) Judgment in a Criminal Case
           Sheet 3A - Supervised Release
                                                                                            Judgment-Page _...:...4_ of     6
DEFENDANT:                 OCTAVIO LOZOYA, JR.
CASE NUMBER:               4:07CR00335-002 SWW

                                     ADDITIONAL SUPERVISED RELEASE TERMS

1. Defendant shall participate, under the guidance and supervision of the U. S. Probation Officer, in a substance abuse
treatment program which may include testing, out-patient counseling, and/or residential treatment. Further, defendant shall
abstain from the use of alcohol throughout tIie course of any treatment.
2. The defendant shall participate in mental health counseling under the guidance and supervision of the U. S. Probation
Office.
3. Defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which defendant is associated. No new
lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
satisfied.
4. Defendant is not a legal resident of this district. Therefore, the period of supervised release is to be administered by the
district where defendant is a legal resident and/or the district where a suitable release plan has been developed.
AO 2458                   Casein4:07-cr-00335-SWW
           (Rev. 09/08) Judgment  a Criminal Case             Document 58-2 Filed 12/09/09 Page 5 of 6
           Sheet 5 - Criminal"Monetaty Penalties
                                                                                                           Judgment - Page          ~5,--_    of        6
 DEFENDANT:                      OCTAVIO LOZOYA, JR.
 CASE NUMBER:                    4:07CROO335-002 SWW
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                                             Restitution
 TOTALS           $ 100                                                                                            $ 12,051.25


 o The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned 'p'a~ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                              TotalLoss*                       Restitution Ordered                                     Priority or Percentalle
 Laura Lopez                                                                                   12,051.25




 TOTALS                                                                  $               ----:1::::2~,0~51::..::.2=5=____
                                  $--------

 o    Restitution amount ordered pursuant to plea agreement $                                      _

 o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the         0 fine    X restitution.
       o the interest requirement for the      0    fine    0 restitution is modified as follows:


 * Findings for the total amount oflosses are reguired under Chapters 109A, 110, 11OA, and 113AofTitIe 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
AO 245B                 Case 4:07-cr-00335-SWW
           (Rev. 09108) Judgment in a Criminal Case             Document 58-2 Filed 12/09/09 Page 6 of 6
           Sheet 6 - Schedule of Payments
                                                                                                              Judgment - Page _=6_ of                   6
DEFENDANT:                 OCTAVIa LOZOYA, JR.
CASE NUMBER:               4:07CR00335-002 SWW

                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X     Lump sum payment of $ ~10::..:0,,-----____ due immediately, balance due

           D     not later than                                     , or
           X     in accordance         D    C,     D    D,     D      E, or    X Fbelow; or
B     D Payment to begin immediately (may be combined with                    DC,        D D, or       [J F below); or
C     D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    X    Special instructions regarding the payment of criminal monetary penalties:
           The restitution imposed is payable during incarceration and supervised release. During incarceration, defendant will pay 50% per
           month of all funds that are available to him. During residentia re-entry placement, payments will be reduced to 10% of
           defendant's gross monthly income. Beginning the ftrst month of supervised release, payments will be 10% per month of
           defendant's monthly gross income.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made througll the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 X    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      4:07CR00335-001 Eduardo Galarza-Payan and any other person who has been or will be convicted on an offense for which restitution
      to the same victim on the same loss is ordered.



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
